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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                    GREENVILLE DIVISION

    Victor O. Jones, Jr.,                         )          Civil Action No.: 6:17-2486-BHH
                                                  )
                                       Plaintiff, )
                                                  )
                        v.                        )               OPINION AND ORDER
    Wells Fargo Bank, N.A.; Government            )
    National Mortgage Association, as Trustee     )
    For Ginnie Mae Remic Trust 2006-026; and )
    John Does, 1-100,                             )
                                                  )
                                   Defendants. )
    ___________________________________ )

         Plaintiff Victor O. Jones, Jr., (“Plaintiff”), proceeding pro se, brought this action

against Defendants Wells Fargo Bank, N.A. (“Wells Fargo”), Government National

Mortgage Association, as Trustee for Ginnie Mae Remic Trust 2006-026 (“Ginnie Mae”),

and John Does 1-100 (“the John Doe Defendants”), seeking monetary damages and

declaratory relief following a state foreclosure action that involved his mortgaged

property. (See ECF No. 1.) In accordance with 28 U.S.C. § 636(b) and Local Rule

73.02, D.S.C., the action was referred to United States Magistrate Judge Kevin F.

McDonald for pretrial handling and a Report and Recommendation (“Report). Magistrate

Judge McDonald recommends that Wells Fargo’s motion to dismiss (ECF No. 16) be

granted, that Ginnie Mae’s unopposed motion to dismiss (ECF No. 27) be granted, and

that the action be dismissed against the John Doe Defendants for failure to timely serve.

(See ECF No. 33.)            The Report sets forth in detail the relevant background and

standards of review and the Court incorporates them without recitation.1

                                         BACKGROUND

1
 As always, the Court says only what is necessary to address Plaintiff’s objections against the already
meaningful backdrop of a thorough Report and Recommendation by the Magistrate Judge;
comprehensive recitation of law and fact exist there.
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      On April 10, 2018, the Magistrate Judge issued the Report recommending that

both pending motions to dismiss be granted and this action be dismissed in its entirety.

(ECF No. 33 at 10.) On April 24, 2018, Plaintiff filed objections. (ECF No. 37.) Wells

Fargo filed a reply (ECF No. 38), and Plaintiff filed a sur-reply (ECF No. 40). The matter

is ripe for adjudication and the Court now makes the following ruling.

                               STANDARD OF REVIEW

      The Magistrate Judge makes only a recommendation to the Court. The

recommendation has no presumptive weight. The responsibility to make a final

determination remains with the Court. Mathews v. Weber, 423 U.S. 261, 270-71 (1976).

The Court is charged with making a de novo determination of those portions of the

Report to which specific objection is made, and the Court may accept, reject, or modify,

in whole or in part, the recommendation of the Magistrate Judge, or recommit the matter

with instructions. 28 U.S.C. § 636(b)(1). However, the Court need not conduct a de

novo review when a party makes only “general and conclusory objections that do not

direct the court to a specific error in the magistrate’s proposed findings and

recommendations.” Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir. 1982). In the absence

of a timely filed, specific objection, the Magistrate Judge’s conclusions are reviewed

only for clear error. See Diamond v. Colonial Life & Accident Ins. Co., 416 F.3d 310,

315 (4th Cir. 2005).

                                     DISCUSSION

       This case represents Plaintiff’s attempt, in federal court, to collaterally attack

foreclosure proceedings already resolved in favor of Wells Fargo in state court. (See

ECF Nos. 1 (instant complaint, alleging: (1) lack of standing/wrongful foreclosure, (2)

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fraud in the concealment, (3) fraud in the inducement, (4) unconscionable contract, (5)

breach of fiduciary duty, (6) quiet title, (7) slander of title, (8) violation of the National

Homeowners Bill of Rights, (9) violation of the Consumer Credit Protection Act, (10)

violation of Regulation X, 12 C.F.R. § 1024.4, (11) violation of the Fair Debt Collection

Practices Act, and (12) “declaratory relief”); 16-2 (judgment of foreclosure and sale in

Wells Fargo Bank, N.A. v. Victor O’Neil Jones, Jr., et al., 2014-CP-23-1278); 16-1 (order

denying Plaintiff’s motion for temporary restraining order and granting Wells Fargo’s

motion to dismiss Plaintiff’s collateral “wrongful foreclosure” suit in Victor O. Jones, Jr. v.

Wells Fargo Bank, N.A., et al., 2015-CP-23-5735).) Even a cursory review of the

pleadings reveals that Plaintiff is attempting to re-litigate matters already adjudicated in

state court, and raise new theories with the hope of undercutting the results reached by

the Court of Common Pleas, Thirteenth Judicial Circuit, County of Greenville, South

Carolina.

       In his thorough and detailed Report, the Magistrate Judge concluded that, to the

extent Plaintiff is attempting to appeal or set aside the state court’s judgment of

foreclosure and sale in 2014-CP-23-1278, and its order of dismissal in 2015-CP-23-

5735, this Court does not have subject matter jurisdiction over the action. (ECF No. 33

at 7.) This conclusion is correct pursuant to the Rooker-Feldman doctrine. See District

of Columbia Ct. of Appeals v. Feldman, 460 U.S. 462 (1983); Rooker v. Fidelity Trust

Co., 263 U.S. 413 (1923); Brown & Root. Inc. v. Breckenridge, 211 F.3d 194, 198 (4th

Cir. 2000) (explaining that the Rooker-Feldman doctrine prevents a plaintiff “from

seeking what in substance would be appellate review of [a] state judgment in a United

States District Court, based on the losing party’s claim that the state judgment itself

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violates the loser’s federal rights” (quotation marks and citation omitted)). The

Magistrate Judge further concluded that Plaintiff’s instant claims are identical in

substance to the claims, defenses, and counterclaims he raised, or could have raised,

in the state court cases, and as such are barred by the doctrine of res judicata. (ECF

No. 33 at 7.) Moreover, the Magistrate Judge reasoned that, to the extent, if any,

Plaintiff’s instant claims are independent from and not inextricably intertwined with the

state court’s judgment and order of dismissal in the foreclosure proceedings, Wells

Fargo is entitled to judgment as a matter of law. (See ECF No. 33 at 7-9.) Finally, the

Magistrate Judge concluded that this action should be dismissed against the John Doe

Defendants because of Plaintiff’s failure to timely serve said Defendants. (ECF No. 33

at 9.)

          Plaintiff filed extensive objections to the Report. (See ECF Nos. 37 & 40.)

However, after careful review of those objections, the Court finds that Plaintiff has failed

to point to any specific error in the Magistrate Judge’s reasoning or conclusions. Though

Plaintiff claims that he is not seeking to appeal or set aside the state court rulings at

issue (see ECF No. 37 at 3), that is, in fact, precisely what he is trying to do. Indeed,

Plaintiff repeatedly states that the state court rulings are “void,” because of alleged

“fraud upon the court.” (See ECF Nos. 37 & 40.) This Court lacks subject matter

jurisdiction over Plaintiff’s attempted collateral attack on state court proceedings. See,

e.g., Skinner v. Switzer, 562 U.S. 521, 531-32 (2011) (restating the Rooker-Feldman

rule, that federal courts lack subject matter jurisdiction over cases where “[t]he losing

party filed suit in a U.S. District Court after the state proceedings ended, complaining of

an injury caused by the state-court judgment and seeking federal-court review and

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rejection of that judgment”). It is abundantly clear both that Plaintiff’s instant claims are

“inextricably intertwined” with the state court foreclosure matters, and that the vast

majority of specific issues he raises have already been “actually decided” in the state

court cases. See Brown & Root. Inc., 211 F.3d at 198 (stating that either prong is

sufficient to preclude subject matter jurisdiction in federal court).

       In an abundance of caution, the Court has conducted a de novo review of the

Report, the record, and the applicable law. The Court finds that the Magistrate Judge

fairly and accurately summarized the facts and applied the correct principles of law, and

there is no basis upon which to deviate from the sound reasoning and analysis

contained in the Report. Accordingly, there is no reason for the Court to discuss the

same issues for a second time here.

                                       CONCLUSION

       For the reasons stated above and by the Magistrate Judge, the Court overrules

Plaintiff’s objections, and adopts and incorporates the Magistrate Judge’s Report.

Therefore, Wells Fargo’s motion to dismiss (ECF No. 16) is hereby GRANTED, Ginnie

Mae’s unopposed motion to dismiss (ECF No. 27) is GRANTED, and this action is

dismissed against John Does 1-100 pursuant to Federal Rule of Civil Procedure 4(m)

for failure to effectuate timely service. The dismissal is with prejudice.

       IT IS SO ORDERED.



                                                   /s/Bruce Howe Hendricks
                                                   United States District Judge

September 4, 2018
Greenville, South Carolina

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                          NOTICE OF RIGHT TO APPEAL

      The parties are hereby notified that any right to appeal this Order is governed by

Rules 3 and 4 of the Federal Rules of Appellate Procedure.




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